Case: 4:08-cr-00187-AGF          Doc. #: 79      Filed: 08/14/08      Page: 1 of 2 PageID #: 211




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )           No. 4:08-CR-187 CAS
       v.                                         )
                                                  )
JULIUS TURRENTINE,                                )
                                                  )
               Defendant.                         )

                                              ORDER

       This matter is before the Court on various pretrial matters. Pursuant to 28 U.S.C. § 636(b),

this Court referred all pretrial matters to United States Magistrate Judge Audrey G. Fleissig. On July

23, 2008, Judge Fleissig filed a Report and Recommendation of United States Magistrate Judge

which recommended that defendant Julius Turrentine’s Motion to Suppress Physical Evidence be

denied. No objections have been filed to the Magistrate Judge’s Report and Recommendation and

the time to do so has passed.

       The Court has carefully and independently reviewed the record of this matter. The Court is

in full agreement with the stated rationale of the Magistrate Judge’s recommendations, and will adopt

the same.

       Accordingly, after careful review,

       IT IS HEREBY ORDERED that the Report and Recommendation of United States

Magistrate Judge is sustained, adopted and incorporated herein. [Doc. 74]
Case: 4:08-cr-00187-AGF      Doc. #: 79   Filed: 08/14/08   Page: 2 of 2 PageID #: 212




      IT IS FURTHER ORDERED that defendant Julius Turrentine’s Motion to Suppress

Physical Evidence is DENIED. [Doc. 47]




                                              __________________________________
                                              CHARLES A. SHAW
                                              UNITED STATES DISTRICT JUDGE


Dated this 14th day of August, 2008.




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